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&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-09-00807-CV

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&nbsp;

PATRICK D. BAILEY, Appellant

&nbsp;

V.

&nbsp;

CHANDRA L. BAILEY, Appellee

&nbsp;



&nbsp;

On Appeal from the 308th District Court

Harris County, Texas

Trial Court Cause No. 2009-49137

&nbsp;



&nbsp;

M E M O R
A N D U M&nbsp; &nbsp;O P I N I O N

This appeal is from a judgment signed August 26, 2009.&nbsp; No
clerk=s record has been filed.&nbsp; The clerk
responsible for preparing the record in this appeal informed the court
appellant did not make arrangements to pay for the record.&nbsp; 

On October 22, 2009, notification was transmitted to all
parties of the court's intention to dismiss the appeal for want of prosecution
unless, within fifteen days, appellant paid or made arrangements to pay for the
record and provided this court with proof of payment.&nbsp; See Tex.
R. App. P. 37.3(b).

Appellant has not provided this court with proof of payment
for the record. Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Justices
Frost, Boyce, and Sullivan. 

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